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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA,                        CASE NO. 18-80160-CR-DIMITROULEAS

         Plaintiff,

  vs.

  CLAUDIA PATRICIA DIAZ GUILLEN,

        Defendant.
  ______________________________________/

                                                ORDER

         THIS CAUSE is before the Court on Defendant Claudia Patricia Diaz Guillen’s Joint

  Motion to Dismiss [DE-77] and the Court having considered the motion and being otherwise

  fully advised in the premises, it is hereby

         ORDERED AND ADJDUGED that the Court asks for an expedited response from the

  Government on or before June 27, 2022.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  22nd day of June, 2022.




  Copies furnished to:

  Counsel of Record
